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10
                               UNITED STATES DISTRICT COURT
11
                           CENTRAL DISTRICT OF CALIFORNIA
12
                                     WESTERN DIVISION
13
14   UNITED STATES OF AMERICA,                 Case No. 20-CR-326-JFW-1
15                Plaintiff,                   AMENDED EX PARTE APPLICATION
16         v.                                  TO FILE UNREDACTED EXHIBITS
                                               ISO MOTION TO SUPPRESS
17   JOSÉ LUIS HUIZAR, et al.,                 PRIVILEGED ATTORNEY-CLIENT
                                               COMMUNICATIONS, ECF 281,
18                Defendants.                  UNDER SEAL; MEMORANDUM;
                                               DECLARATION; PROPOSED ORDER
19
20
21         José Luis Huizar, through counsel, submits this amended ex parte application for
22   an order that the attached Unredacted Exhibits (A–G) in support of his Motion to
23   Suppress Privileged Attorney-Client Communications, filed November 15, 2021, ECF
24   No. 281, be filed under seal.
25   //
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     //
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28   //
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 1         This application is based on the attached Memorandum of Points and Authorities,
 2   Declaration of Counsel, and any other evidence the Court may consider.
 3
                                            Respectfully submitted,
 4
 5                                          CUAUHTÉMOC ORTEGA
                                            Federal Public Defender
 6
 7   Dated: November 18, 2021          By       /s/ Carel Alé
                                            Carel Alé
 8                                          Charles J. Snyder
                                            Adam Olin
 9                                          Deputy Federal Public Defenders
10                                          Attorneys for José Huizar

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 1
                         TABLE OF CONTENTS OF EXHIBITS
 2
 3         Exhibits    Description                             Page(s)
 4         A           302 Report of Dec. 5, 2018 Interview    2, 3, 8, 9, 12
                       of Morrie Goldman
 5
           B           Government Notes of June 6, 2019        2, 3, 7, 10
 6                     Interview of George Esparza
           C           302 Report of Dec. 12, 2018 Interview   2, 9
 7
                       of George Esparza
 8         D           Linesheet of Wiretap of June 29, 2017   2, 7, 8
                       Conversation
 9
           E           302 Report of June 6, 2019 Interview    3, 11, 12
10                     of George Esparza
11         F           Linesheet of Wiretap of May 31, 2017    7
                       Conversation
12         G           Government Notes and Outline of Dec.    12
13                     5, 2018 Interview of Morrie Goldman

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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2         A court has supervisory powers over its records and files to seal documents under
 3   appropriate circumstances. See United States v. Mann, 829 F.2d 849, 853 (9th Cir. 1987);
 4   see also Local Rule 79-5.1 (providing that a party may request that documents be filed
 5   under seal). “[T]he need to honor the attorney-client privilege” qualifies as a reason to
 6   seal exhibits. United States v. Pella, No. 06-MJ-161-RJJ, 2012 WL 5287898, at *1 (D.
 7   Nev. Oct. 24, 2012); see also Asdale v. International Game Technology, No. 04-CV-703-
 8   RAM, 2010 WL 2161930, at *5 (D. Nev. May 28, 2010) (“The public interest in
 9   accessing the courts does not outweigh the compelling need to . . . honor the attorney-
10   client privilege and the work-product doctrine.”)).
11         Here, Unredacted Exhibits A–G, in support of Mr. Huizar’s Motion to Suppress
12   Privileged Attorney-Client Communications, contain privileged attorney-client
13   communications. It is submitted that the attached declaration of counsel is sufficient to
14   justify that these Unredacted Exhibits, filed November 18, 2021, be filed under seal.
15
16                                            Respectfully submitted,
17
                                              CUAUHTÉMOC ORTEGA
18                                            Federal Public Defender
19   Dated: November 18, 2021            By       /s/ Carel Alé
20                                            Carel Alé
                                              Charles J. Snyder
21                                            Adam Olin
                                              Deputy Federal Public Defenders
22                                            Attorneys for José Huizar
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 1                              DECLARATION OF CAREL ALÉ
 2         I, Carel Alé, hereby state and declare as follows:
 3         1.      I am a Deputy Federal Public Defender in the Central District of California
 4   appointed to represent defendant José Huizar in the above-titled action.
 5         2.      On November 15, 2021, I submitted Exhibits A–G in support of Mr.
 6   Huizar’s Motion to Suppress Privileged Attorney-Client Communications.
 7         3.      Exhibits A–G contained only the relevant pages of larger reports, notes, or
 8   linesheets.
 9         3.      I submitted the exhibits under seal because the exhibits contained
10   information Mr. Huizar asserts is protected by the attorney-client privilege and were
11   produced pursuant to the parties’ Protective Order. I also redacted information that was
12   not relevant to the motion.
13         4.      On November 17, 2021, the parties met and conferred about those exhibits.
14         5.      The government advised that it opposed the under seal nature of the filing
15   based on Mr. Huizar’s claim of privilege but understood the defense’s position. The
16   parties agreed to further meet and confer about unsealing the documents once the Court
17   ruled on Mr. Huizar’s claim of privilege.
18         6.      The government also advised that the 302 Report from which Exhibit A had
19   been extracted was erroneously stamped as having been produced pursuant to the
20   Protective Order but should be de-designated. The government advised that it believed
21   Exhibits D and F, which were produced pursuant to the Protective Order, could be filed
22   publicly by redacting PII, and that exhibits B, C, E, and G had not been produced pursuant
23   to the Protective Order.
24         7.      The government advised that it preferred that Exhibits A–G not contain
25   redactions in order to provide context and prevent confusion as to which party created
26   the redactions.
27         8.      The parties agreed that Mr. Huizar would file unredacted exhibits A–G.
28   //


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 1         9.       I have therefore redacted PII in Exhibits D and F but otherwise removed the
 2   redactions made by the defense in exhibits A–G in support of his Motion to Suppress
 3   Privileged Attorney Client Communications, ECF No. 281, according to the parties’
 4   agreement. The redaction in Exhibit C was in the version of the document produced to
 5   the defense.
 6
 7         I declare under penalty of perjury that the foregoing is true and correct to the best
 8   of my knowledge.
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10         Executed on November 18, 2021, in Los Angeles, California.
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12                                                 /s/ Carel Alé
                                                 Carel Alé
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